Case 1:21-cv-24154-DLG Document 1 Entered on FLSD Docket 11/29/2021 Page 1 of 9




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO

   JOSE HERNADEZ,

              Plaintiff,

   vs.

   METROPLEX SYSTEMS, LLC., a
   Florida limited liabilty company,
   ANGELO        DOMINGUEZ,      JR.
   individually,

          Defendants.
 ___________________________________/

                                          COMPLAINT

         COME NOW Plaintiffs, JOSE HERNANDEZ, by and through his undersigned attorney,

 hereby sue Defendants, METORPLEX SYSTEMS, LLC, ANGELO DOMINGUEZ JR.,

 individually (hereinafter collectively referred to as “the Employer,” except when referred to

 individually), and allege:

                           JURISDICTIONAL ALLEGATIONS AND VENUE

         1.      Plaintiffs seek to recover money damages for unpaid minimum wages. This action

 is brought pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201-219 (§ 216 for jurisdictional

 placement) (the “FLSA”) and for breach of employment contract. Plaintiff also seeks to recover

 damages for unlawful retaliatory termination of his employment in violation of 29 U.S.C. §

 215(a)(3).

         2.      Plaintiff is a resident of Miami-Dade County, Florida, within the jurisdiction of this

 Honorable Court.
Case 1:21-cv-24154-DLG Document 1 Entered on FLSD Docket 11/29/2021 Page 2 of 9




        3.      The corporate Defendant, METORPLEX SYSTEMS, LLCL, is a Florida limited

 liability company, which at all times material hereto, was doing business in Miami-Dade County,

 Florida, where Plaintiff was employed and at all times material hereto was and is engaged in

 interstate commerce.

        4.      The individual Defendant, ANGELO DOMINGUEZ JR., resides in Miami-Dade

 County, Florida.

        5.      This action is brought by Plaintiff to recover from the Employer claims for unpaid

 minimum wage compensation, as well as an additional amount as liquidated damages, costs and

 reasonable attorney’s fees under the provisions of 29 U.S.C. § 201 et seq., and specifically under

 the provisions of 29 U.S.C. § 206 and for breach of employment contract. Plaintiff also brings this

 action to recover damages for unlawful retaliatory termination of their his employment in violation

 of 29 U.S.C. § 215(a)(3).

        6.      FLSA coverage is triggered because the corporate Defendant is and, at all times

 pertinent to this Complaint, was engaged in interstate commerce. At all times pertinent to this

 Complaint, the Employer operates as an organization which sells and/or markets its services and/or

 goods and/or materials to customers from throughout the United States and also provides its

 services for goods sold and transported from across state lines of numerous other States, and the

 Employer obtains and solicits funds from non-Florida sources, accepts funds from non-Florida

 sources, uses telephonic transmissions going over State lines to do its business, transmits funds

 outside the State of Florida, and otherwise regularly engages in interstate commerce, particularly

 with respect to its employees. Upon information and belief, the annual gross revenue of the

 Employer was at all times material hereto in excess of $500,000.00 per annum, and two or more

 employees handled goods or materials that moved in the stream of commerce on a frequent and
Case 1:21-cv-24154-DLG Document 1 Entered on FLSD Docket 11/29/2021 Page 3 of 9




 recurrent basis, and/or Plaintiff and those similarly-situated, by virtue of working in interstate

 commerce, otherwise satisfy the FLSA’s requirements. In particular, Plaintiff was employed as a

 truck drivers who engaged in interstate commerce because his job duties required him transport

 goods and materials across state lines and throughout different states. Maria v. Ryan P. Relocator

 Co., 512 F. Supp. 2d 1249, 1257 (S.D. Fla. 2007).

        7.      Notwithstanding, the retaliatory provisions of the FLSA are triggered regardless of

 whether the corporate entity or the individual Defendants are engaged in commerce. Section 29

 U.S.C. § 215(a)(3) protects “any person” who makes a formal or informal protected expression

 under the FLSA.

        8.      By reason of the foregoing, the Employer is and was, during all times hereafter

 mentioned, an enterprise engaged in commerce or in the production of goods for commerce as

 defined in 29 U.S.C. §§ 203(r) and 203(s) and/or Plaintiffs are within interstate commerce.

                                  PLAINTIFFS’ EMPLOYMENT

              The FLSA Minimum Wage Claim as well as Failure to Make Prompt
                       Payment and Failure to pay any Wages at all

        9.      Defendants employed Plaintiff as a truck driver to transport goods and materials

 across state lines, and back to Florida. Plaintiff worked from approximately July 26, 2021, until

 October 4, 2021, for Defendants. Defendant is a transportation company. Plaintiffs was a truck

 driver, and he was paid a weekly salary of $1,800.00 to transport goods and materials. Plaintiff

 regularly worked 11 hours per day, 5 days a week, or 80 hours per week. Defendants failed to

 promptly pay Plaintiff’s wage.

        10.     Plaintiff was engaged in long-haul trip outside his home during his employment

 from approximately July 26, 2021, until October 4, 2021. Established precedent requires that on

 such trips Plaintiffs be compensated a minimum of 16 hours a day. Julian v. Swift Transp. Co. Inc.,
Case 1:21-cv-24154-DLG Document 1 Entered on FLSD Docket 11/29/2021 Page 4 of 9




 360 F. Supp. 3d 932, 946 (D. Ariz. 2018).

        11.    Plaintiff’s wages were paid on a weekly basis through direct deposit, due on

 Thursday. The FLSA requires that wages be paid on the day that they are due. The failure to pay

 the required minimum wage of $8.65 per hour, from January 1 through September 29, 2021, and

 $10.00 per hour commencing on September 3, 2021, when due is a minimum wage violation

 because the employee is effectively paid $0.00 per hour for the week in question. The FLSA has a

 prompt payment requirement and the failure to pay on the due date constitutes a minimum wage

 violation triggering entitlement to liquidated damages under the FLSA.

        12.    Defendants’ workweek ran from Wednesday to Thursday. Defendants failed to

 promptly pay Plaintiff’s wage during his employment, multiple times, and failed to pay any wage

 at all during the last week of Plaintiff’s employment, for the period of September 29, though

 October 7, 2021.

                                    COUNT I
                       CLAIM FOR MINIMUM WAGE VIOLATION
                          AND PROMPT PAYMENTAGAINST
                            METROPLEX SYSTEMS LLC.

        13.    Plaintiffs re-allege and re-aver paragraphs 1 through 12 as fully set forth herein.

        14.    The FLSA requires that the Employer pay Plaintiffs a required minimum wage per

 hour. The failure to “promptly pay” wages on the day that they were due constitutes a minimum

 wage violation under the FLSA triggering entitlement to liquidated or double minimum wage

 damages. Olson v. Superior Pontiac-GMC, Inc., 765 F.2d 1570, 1579 (11th Cir. 1985), modified

 776 F.2d 265 (11th Cir. 1985); see also Biggs v. Wilson, 1 F.3d 1537, 1530-40 (9th Cir. 1993).

 Defendant failed to pay a minimum wage and failed to timely pay Plaintiff’s wages on the due

 date and Plaintiff id entitled to recover the required minimum wage in addition to liquidated

 damages of $8.65, and $10.00, per hour for every hour worked.
Case 1:21-cv-24154-DLG Document 1 Entered on FLSD Docket 11/29/2021 Page 5 of 9




        15.     Defendants knew of and showed reckless disregard by failing to promptly pay

 Plaintiff’s wage. Defendant had knowledge of the requirement that employees be paid a timely

 wage. Ignorance of the law is not an excuse. Defendant failed to keep adequate time records for

 hours that Plaintiff worked. Defendant knew or should have known of the work performed by the

 Plaintiff and of their obligation to timely pay Plaintiff’s wage yet failed to do so. Defendants also

 misclassified Plaintiff as a 1099 employee to avoid payroll tax obligations. Defendant failed to

 promptly pay wages when they became due. Defendants knew of the failure to promptly pay or

 pay Plaintiff within a reasonable time after the wages were due to Plaintiffs. Plaintiff is entitled to

 recover liquidated damages.

        16.     The Employer remains owing Plaintiff these minimum wages since the

 commencement of Plaintiff’s employment with Defendant as set forth above, and Plaintiff is

 entitled to an equal amount as liquidated damages.

        17.     Plaintiffs has retained the law offices of the undersigned attorney to represent them

 in this action and are entitled to recover a reasonable attorney’s fee.

        WHEREFORE, Plaintiff requests compensatory and liquidated damages and reasonable

 attorney’s fees and costs from the corporate Defendant, jointly and severally with the individual

 Defendant, ANGELO DOMINGUEZ JR., pursuant to the FLSA, to be proven at the time of trial,

 the minimum wage, and liquidated damages due to Plaintiffs remain outstanding. If Plaintiff does

 not recover double damages, then Plaintiff seeks an award of prejudgment interest for the unpaid

 minimum wages, liquidated damages, and attorney’s fees, and any and all other relief which this

 Court deems reasonable under the circumstances.



                                           COUNT II
                                     INDIVIDUAL LIABILITY
Case 1:21-cv-24154-DLG Document 1 Entered on FLSD Docket 11/29/2021 Page 6 of 9




                                   ANGELO DOMINGUEZ JR.

        18.     Plaintiffs re-allege and re-aver paragraphs 1 through 17 as fully set forth herein.

        19.     The individual Defendant, ANGELO DOMINGUEZ JR., is an FLSA employer, as

 defined in 29 U.S.C. § 203(d), as he had operational control over the Defendant corporation and

 additionally was directly involved in decisions affecting employee supervision, compensation and

 hours worked by employees, such as Plaintiff. ANGELO DOMINGUEZ JR., also has “some direct

 responsibility for the supervision of the employees.” Moreover, the individual Defendant

 controlled the purse strings for the Defendant corporation as he had and exercised control over

 bank accounts and employee compensation.

        20.     As an FLSA employer, ANGELO DOMINGUEZ JR., is liable to Plaintiff, together

 with the corporate Defendant.

        21.     Defendants knew of and showed reckless disregard by failing to promptly pay

 Plaintiff his wages. Defendants had knowledge of the requirement of the law. Defendant knew or

 should have known of the work performed by the Plaintiffs and of her obligation to timely pay

 Plaintiff’s wages. Defendant also misclassified Plaintiff as 1099 employees to avoid payroll

 obligations. Defendants failed to promptly pay wages when they became due. Defendants knew of

 the failure to promptly pay or pay Plaintiff within a reasonable time after the wages were due to

 Plaintiff. Defendants failed to keep accurate time records of the hours worked by Plaintiff.

        22.      The Employer remains owing Plaintiff these minimum wages since the

 commencement of Plaintiff’s employment with Defendant as set forth above, and Plaintiff is

 entitled to an equal amount as liquidated damages.

        23.     Plaintiff retained the law offices of the undersigned attorney to represent him in this

 action and are entitled to recover a reasonable attorney’s fee.
Case 1:21-cv-24154-DLG Document 1 Entered on FLSD Docket 11/29/2021 Page 7 of 9




        WHEREFORE, Plaintiff requests compensatory and liquidated damages and reasonable

 attorney’s fees and costs from Defendant, ANGELO DOMINGUEZ JR., jointly and severally with

 the corporate Defendant, pursuant to the FLSA, to be proven at the time of trial, the minimum

 wage, and liquidated damages due to Plaintiff remains outstanding. If Plaintiff does not recover

 double damages, then Plaintiff seeks an award of prejudgment interest for the unpaid minimum

 wages, liquidated damages, and attorney’s fees, and any and all other relief which this Court deems

 reasonable under the circumstances.

                                     COUNT IV
                            RETALIATION, 29 U.S.C. § 215(a)(3),
                             THE CORPORATE DEFENDANT
                         AS WELL AS AGAINST THE INDIVIDUAL

        29.     Plaintiffs re-allege and re-aver paragraphs 1-23 as fully set forth herein.

        30.     Plaintiff worked for Defendants as a long-haul truck driver. Plaintiffs worked

 outside his home on a long-haul trip from July 26, 2021, until October 4, 2021. Defendants failed

 to promptly pay Plaintiff’s wage when due. Plaintiff made a protected expression when he

 demanded timely payment, and when Defendants failed to pay Plaintiff’s wage during the last

 week of his employment. Plaintiff demanded his wage and complained about Defendants illegal

 refusal to pay his wage. Consequently, Defendants unlawfully retaliated by terminating Plaintiffs’

 employment.

        31.     Florida Minimum Wage requires an Employer to pay its Employees a rate not less

 than $8.46 per hour from January 1, 2019, and $10.00, commencing on September 30, 2021.

        32.     Plaintiff’s employment was unlawfully terminated on or about October 4, 2021,

 because he engaged in an activity protected by the FLSA.

        33.     Defendants unlawfully terminated Plaintiff’s employment. Plaintiffs suffered an

 adverse employment action because he complained about late payments and because he
Case 1:21-cv-24154-DLG Document 1 Entered on FLSD Docket 11/29/2021 Page 8 of 9




 complained demanding the pay required by law. Plaintiff’s employment termination was in

 retaliation for making a protected expression (i.e., demanding the wages demanded by law and

 Plaintiffs had reasonable good faith belief that they were making a demand for the pay required by

 law).

         34.    As a result of the unlawful termination, Plaintiff is entitled to recover, back pay,

 lost wages, front pay, emotional damages as well as all other damages allowed by law.

         35.    Defendants violated 29 U.S.C. § 215(a)(3) of the FLSA; and showed reckless

 disregard for the provisions of the FLSA in retaliating against Plaintiffs for demanding unpaid

 minimum wage damages. The violation was willful or in reckless disregard of the FLSA which

 prohibits retaliatory action when an employee makes a protected expression.

         36.    By reason of the foregoing acts of the Employer, Plaintiffs have suffered damages,

 including lost income, benefits and employer contributions. Plaintiffs are entitled to recover

 liquidated damages (double damages) pursuant to the Statute.

         37.    The violations were intentional and with reckless disregard for the law because

 Defendants knew or should have known that Plaintiffs were entitled to be paid the required

 minimum wage and terminated Plaintiff’s employment in retaliation for their valid claim.

         38.    Plaintiffs are entitled to recover costs and reasonable attorney’s fees pursuant to the

 FLSA, 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiff demands judgment against the corporate Defendant as well as the

 individual Defendant, jointly and severally, for violation of 29 U.S.C. § 215(a)(3), including all

 damages allowed by the FLSA for retaliatory acts by the employer, including, back pay, liquidated

 damages, emotional damages, reasonable attorney’s fees and costs of suit, and for all proper relief

 including pre-judgment interest.
Case 1:21-cv-24154-DLG Document 1 Entered on FLSD Docket 11/29/2021 Page 9 of 9




                                   COUNT V
                BREACH OF EMPLOYMENT, CORPORATE DEFENDANT
                  FAILURE TO PAY THE WAGE DUE TO PLAINTIFFS

        39.     Plaintiff re-alleges and re-aver paragraphs 1-38 as fully set forth herein.

        40.     Defendant is a transportation company. Defendant employed Plaintiffs as a loan

 haul truck driver. Plaintiffs worked from approximately July 26, 2021, until October 4, 2021.

        41.     The parties reached a mutual consent as to the terms of the oral employment

 agreement. Defendant agreed to pay Plaintiff a weekly wage of $1,800.00.

        42.     Defendant failed to pay Plaintiff his weekly wage for the last week of his

 employment, from September 29, through October 7, 2021.

        43.     Plaintiffs have complied with all conditions precedent to filing this action.

        44.     Plaintiffs have retained the Law Offices of Eddy Marban and are obligated to pay

 a reasonable attorney’s fee. Plaintiffs are entitled to recover reasonable attorney’s fees pursuant to

 Florida Statute § 448.08.

        WHEREFORE, Plaintiff respectfully requests that the court enter judgment against the

 Corporate Defendant awarding them damages for breach of the employment contract, together

 with prejudgment interests, attorney’s fees and costs of this action, and any and all other relief

 which the Court deems just and equitable.

                                                               THE LAW OFFICES OF
                                                               EDDY O. MARBAN
                                                               2655 S. LeJeune Road, Suite 804
                                                               Coral Gables, Florida 33134
                                                               Telephone (305) 448-9292
                                                               Facsimile (786) 309-9978
                                                               E-mail: em@eddymarbanlaw.com

                                                               By: s/Edilberto O. Marban
                                                                  EDDY O. MARBAN, ESQ.
                                                                  Fl. Bar No. 435960
